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Counsel for Defendant

                UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MONTANA
                     MISSOULA DIVISION
SAMANTHA ALARIO, et. al.,                          Lead Case No.
                                                  CV-23-56-M-DWM
                  Plaintiffs,
                                                  Member Case No.
and                                               CV 23-61-M-DWM

TIKTOK INC.,                                 DEFENDANT’S NOTICE
                                              OF APPEARANCE OF
              Consolidated Plaintiff,        ADDITIONAL COUNSEL

      v.

AUSTIN KNUDSEN, in his official
capacity as Attorney General of the State
of Montana,

                   Defendant.
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      Defendant provides notice to the Court and counsel that Peter M.

Torstensen, Jr., Assistant Solicitor General, enters his notice of

appearance as additional counsel of record on behalf of the Defendant

in this matter.        Please submit all correspondence, pleadings, and

general mail to Mr. Torstensen via ECF or at the following address

and email:

      PETER M. TORSTENSEN, JR.
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      DATED this 12th day of July, 2023.

                                         AUSTIN KNUDSEN
                                         Montana Attorney General

                                         /s/ Peter M. Torstensen, Jr.
                                         PETER M. TORSTENSEN, JR.
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                                         Counsel for Defendant

DEFENDANT’S NOTICE OF APPEARANCE OF ADDITIONAL COUNSEL | 2
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                            CERTIFICATE OF SERVICE

      I certify that on this date, an accurate copy of the foregoing

document was served electronically through the Court’s CM/ECF system

on registered counsel.

Dated: July 12, 2023                               /s/ Peter M. Torstensen, Jr.
                                                       PETER M. TORSTENSEN, JR.




DEFENDANT’S NOTICE OF APPEARANCE OF ADDITIONAL COUNSEL | 3
